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AO 442 (Rev 01/09) Arrest Warrant

¥% UNITED STATES DISTRICT COURT
for the UNSE ALED

District of Columbia

United States of America

v ) .
Case: 1:13-mj-572
) :
eee AE MED MUKATALAH" ) Assigned To : Chief Judge Royce C. Lamberth
) Assign. Date : 7/15/2013
_ ) Description: Complaint and Arrest Warrant
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
iname of person to be arrested) AHMED ABU KHATALLAH, also known as "AHMED MUKATALAH" oo

who is accused of an offense or violation based on the following document filed with the court:

1 Indictment [) Superseding Indictment M Information O Superseding Information as Complaint
Cl Probation Violation Petition 1 Supervised Release Violation Petition TViolation Notice © Order of the Court

This offense is briefly described as follows:
Killing A Person in the Course of an Attack on a Federal Facility Involving the Use of a Firearm and Dangerous Weapon
and Attempting and Conspiring to Do the Same, in violation of 18 U.S.C. §§ 930(c) and 2;
Providing Attempting and Conspiring to Provide Material Support to Terrorists Resulting in Death, in violation of 18 U.S.C
§§ 2339A and 2, and
Discharging, Brandishing, Using, Carrying and Possessing a Firearm During and in Relation to a Crime of Violence, in
violation of 18 U S.C. §§ 924(c}(1) and 2.

Date: 07/15/2013 “Ges c. Autre
Msuinyg officer's signature

City and state: Washington,D.C. / _ Chief Judge Royce C Lamberth

Printed name and title

Return

This vn was received on (date) ) } 15 | \3 ___, and the person was arrested on (dae) | ad | i

at (city and state) ecwinwton , D iC. ,
NY }

tt

s

Date: o/aa/i4 Thedadl oo

Rete: Ay abrasion cer’s signature

Michael So Ke al DUSM

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